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              IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF GEORGI A ~~~tllliS'IE ;K diV .
                      BRUNSWICK DIVISIO N




UNITED STATES OF AMERIC A




       v<                                              CR 205-2 9-02

BARBARA F . ARCHIBALD




                                         ORDER




       The above and foregoing case having come on for jury selection and trial the week

of November 7, 2005 and at the conclusion of the government' s evidence in the case, a

motion was made by the defendant, Barbara F . Archibald , for a judgment of acquittal . After

considering all the evidence in the case , the Court grants said motion .

       Accordingly, a judgment of acqui ttal is hereby entered on behalf of the defendant,

Barbara F . Archibald
                        . ~r
        SO ORDERED this 1k day of             ~--                 7005 .




                                       ANTHONY A . AIJAIIVMO
                                                                       6L6Z~---~-' ~~
                                       UNITED STATES DISTRICT JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
